     Case: 1:19-cv-02219 Document #: 41 Filed: 05/28/19 Page 1 of 2 PageID #:443




                      IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

METALLICA, a California general partnership,

       Plaintiff,                                           Case No.: 1:19-cv-02219

v.                                                          Judge John Z. Lee

THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Mary M. Rowland
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                   DEFENDANT
                617                           Pop Officially Licensed Store



DATED: May 28, 2019                                 Respectfully submitted,

                                                    /s/ Keith A. Vogt
                                                    Keith A. Vogt (Bar No. 6207971)
                                                    Keith Vogt, Ltd.
                                                    1033 South Blvd., Suite 200
                                                    Oak Park, Illinois 60302
                                                    Telephone: 708-203-4787
                                                    E-mail: keith@vogtip.com

                                                    ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-02219 Document #: 41 Filed: 05/28/19 Page 2 of 2 PageID #:443




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on May 28, 2019 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
